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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION




FRANCISCA E. LOPEZ,                         )
                                            )              CIVIL ACTION NO.
             Petitioner,                    )
                                            )              3:05-CV-0442-G
VS.                                         )
                                            )              CRIMINAL ACTION NO.
UNITED STATES OF AMERICA,                   )
                                            )              3:97-CR-257(11)-G
             Respondent.                    )




                                OPINION AND ORDER

      After reviewing the objections to the findings, conclusions and

recommendation (“Findings”) of the United States Magistrate Judge and conducting

a de novo review of those parts of the Findings to which objections have been made, I

am of the opinion that the Findings of the magistrate judge are correct and they are

adopted as the Findings of the court.

      It is therefore ORDERED that those Findings are ADOPTED as the findings

and conclusions of the court.


June 21, 2005.
